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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION



JERMAINE DOCKERY, ET AL.                                              PLAINTIFFS


VS.                                  CIVIL ACTION NO. 3:13-cv-326-WHB-JCG


PELICIA HALL, ET AL.                                                  DEFENDANTS



                                    OPINION AND ORDER

       This cause is before the Court for ruling on the Section 1983

claims alleged by Plaintiffs in this class action challenging

multiple     conditions     of    their   confinement    at    East   Mississippi

Correctional Facility.           After considering the evidence presented

at trial, which was supplemented with materials gathered during a

period of post-trial discovery, it is clear that many changes have

been made at the subject prison that pertain to the claims alleged

in this lawsuit.       The changes include, but are not limited to, new

administrators, new prison personnel, and new service providers.

Based on these changes, the Court concludes that the alleged

constitutional violations that may have existed at the time this

lawsuit     was    filed   no    longer   exist   and,   therefore,     that   the

injunctive        relief   sought    by   Plaintiffs     has   not    been   shown

necessary.        Accordingly, judgment will be entered in favor of

Defendants on all claims.
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           I.      Factual Background and Procedural History

     Plaintiffs in this case are inmates at the East Mississippi

Correctional Facility (“EMCF”), which is located near Meridian,

Mississippi.       EMCF       is        designated          to   house      inmates       with

psychological and/or mental illnesses, and approximately eighty

percent of the exclusively male prison population has been so

diagnosed.        At all times relevant to this lawsuit, EMCF was

privately operated by Management and Training Corporation (“MTC”)

pursuant     to     a     Residential           Services         Agreement     (“Services

Agreement”) that was entered between the Mississippi Department of

Corrections       (“MDOC”)     and        the       East    Mississippi      Correctional

Facility   Authority.          The       MDOC       is   charged    with    operating     the

Mississippi prison system.

     In 2012, several individuals, who were later designated by

Plaintiffs    as    experts        in    this       case,    toured   the    facility     and

reviewed prison records.                Based on the then-existing conditions,

Plaintiffs      filed     a   class       action         lawsuit    alleging       that   the

conditions under which they were being confined violated their

Eighth   Amendment        right      to    be       free     from   cruel    and    unusual

punishment.       Through their lawsuit, Plaintiffs seek to correct the

alleged constitutional violations by way of injunctive relief.
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     Plaintiffs’ lawsuit was filed against several MDOC officials

including Christopher Epps (“Epps”), in his then-official capacity

as state-appointed Commissioner of the MDOC. 1              After the lawsuit

was filed, Epps was indicted on federal charges including money

laundering    and     fraud.    These   charges    arose,     in    part,    from

allegations    that    Epps    was   receiving    bribes   and     kickbacks   in

exchange for awarding MDOC contracts, including contracts related

to EMCF.      See United States v. Epps, Criminal No. 3:14-cr-111

(S.D. Miss. 2014).      Epps pleaded guilty to several federal charges

and is currently in prison.          Following Epps’s departure from the

MDOC, Pelicia Hall (“Hall”) was appointed Commissioner, and she

currently holds that position.

     In addition to Epps, federal charges were filed against Doctor

Carl Reddix (“Reddix”), charging, inter alia, that he had bribed

Epps to obtain MDOC contracts.              See United States v. Reddix,

Criminal No. 3:16-cr-50 (S.D. Miss. 2016).            Reddix was the owner

of Health Assurance, LLC, which had been awarded a no-bid contract

by Epps to provide healthcare-related services at EMCF, and that

contract was in effect at the time this lawsuit was filed.                  Reddix


     1  The Complaint also named Dr. Gloria Perry, in her
official capacity as Chief Medical Officer for the MDOC, and
Archie Longley, in his official capacity as Deputy Commissioner
for Institutions for the MDOC, as defendants. The Deputy
Commissioner position is currently held by Jerry Williams.

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pleaded guilty to having bribed Epps and is currently in prison.

After the MDOC learned of the bribery/kickback scheme, it rescinded

the contract with Health Assurance, LLC, and entered a new contract

with Centurion of Mississippi (“Centurion”) to provide healthcare-

related services at EMCF.     Centurion began providing both medical

and mental health care services at the prison in July of 2015.

     The allegations in the Complaint are divided into several

categories, the first of which is “Solitary Confinement”.                As

regards this category, Plaintiffs allege that although prisoners

who are placed in solitary confinement should be permitted one

hour of out-of-cell time per day to shower or have yard time, they

often go days, and sometimes weeks, without being permitted any

out-of-cell time.   See Compl., ¶¶ 25-27.     Plaintiffs also complain

that numerous problems exist in the solitary confinement units in

which they are housed including: (1) non-functioning plumbing; (2)

vermin infestation; (3) non-function lights in some cells, “bright

artificial light around the clock” in others; and (4) deafening

noise levels.    Id. at ¶¶ 29-35.       Plaintiffs further allege that

prisoners in solitary confinement are beaten and/or ignored by

EMCF personnel and are at risk of prisoner-to-prisoner violence.

Id. at ¶¶ 36-37.    Finally, Plaintiffs complain that placement in

solitary confinement exacerbates symptoms of pre-existing mental

illnesses and can increase the risk of suicide.        Id. at ¶¶ 38-74.
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     The second category is “Mental Health Care”.                 As regards this

category, Plaintiffs allege: (1) they receive little, if any,

individual or group mental health treatment; (2)                   they are over-

medicated with tranquilizing anti-psychotic medications; (3) the

symptoms of their mental diseases are exacerbated by the conditions

under    which   they   are   housed;   and   (4)    they    are    subjected   to

disciplinary action if they attempt to seek help from the medical

staff.     Id. at ¶¶ 79-82.

     The    third   category    is    “Medical      Care”.   As     regards   this

category, Plaintiffs allege: (1) there is insufficient staff to

provide adequate medical treatment; (2) there are long delays in

being seen by healthcare providers; (3) prisoners are often treated

by nurses regardless of the nature or seriousness of their medical

problems; and (4) they do not receive prescribed medications as

ordered.     Id. at ¶¶ 113-23.       Plaintiffs also allege that (1) they

are denied treatment for chronic medical conditions and pain

management; (2) they receive untimely and insufficient dental and

other medical care; (3) they are required to wait extended periods

of time to see outside specialists; and (4) treatment plans and

corrective surgeries recommended by outside specialists are often

denied by prison officials.          Id. at ¶¶ 124-89.

     The fourth category is “Abuse and Excessive Force by Staff”.

As to this category, Plaintiffs allege that security officers often
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“use excessive force with impunity and with no oversight.”               Id.

at ¶ 190. Plaintiffs further allege that EMCF security officers

and staff (1) receive insufficient training; (2) frequently use

chemical agents and physical force without warning and in the

absence of immediate threat of danger or resistance from the

prisoners; and (3) deny requests for medical care by prisoners who

have been subjected to physical force or chemical agents.           Id. at

¶¶ 191-202.     According to Plaintiffs, EMCF personnel use chemical

agents and other forms of force against prisoners regardless of

pre-existing medical or psychiatric problems.          Id. at ¶¶ 203-08.

     The fifth category is “Failure to Protect Prisoners from

Violence”.     As to this category, Plaintiffs allege that EMCF fails

to protect prisoners from extortion, bodily and sexual assault,

and other threats of violence from other inmates and, further,

that prison staff has actively arranged/enabled such activities.

Id. at ¶¶ 209-20.     Plaintiffs further allege that EMCF has acted

with deliberate indifference to the risk of prisoner-on-prisoner

violence by failing to: (1) ensure the proper function of safety

equipment; (2) maintain adequate staff; (3) remove weapons and

dangerous objects from prisoners; and (4) remove prisoners from

potentially dangerous situations.         Id. at ¶¶ 221-32.

     The     sixth   category   is       “Sanitation   and    Environmental

Conditions”.     In this section, Plaintiffs allege: (1) there are
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multiple broken toilets, sinks, and showers throughout EMCF; (2)

food, excrement, and other debris litter prisoner cells and common

areas; (3) there is soot, and often smoke, present from fires

started by prisoners; (4) they are required to wear clothing and

sleep on bedding that has become saturated because of faulty water

pipes; and (5) there is poor ventilation throughout the facility

in part because air ducts and vents are not routinely cleaned.

Id. at ¶¶ 234-43.

     The seventh category is “Nutrition and Food Safety”.          As to

this category, Plaintiffs allege they are “deliberately underfed

and malnourished”, which has resulted in significant losses of

weight following arrival at EMCF.       Id. at ¶¶ 244-50.

     Plaintiffs also allege that Mississippi prison officials have

been indifferent to the problems that exist at EMCF.              First,

Plaintiffs allege that the officials have known about the existing

problems at EMCF for several years but have failed to remedy them.

Id. at ¶¶ 251-53. Second, Plaintiffs allege that prison officials

have continued to renew and/or enter additional contracts with

private prison vendors even though the services provided by those

vendors have been criticized, and the contracts reduce the health

care services provided to EMCF prisoners. According to Plaintiffs,

prison officials do not monitor or engage in any oversight of the

private prison vendors.      Id. at ¶¶ 254-62.       Third, Plaintiffs
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allege that administrative grievances regarding the conditions at

EMCF    are   generally   either   (1)   answered   with   intimidation,

coercion, obstruction, or threats from the staff; or (2) not

answered at all.    Id. at ¶¶ 263-83.

       Based on these allegations, Plaintiffs filed suit seeking to

redress the alleged violations of their Eight Amendment rights as

one or more class of prisoners.          Following a period of class

action-related discovery, the Court certified the case to proceed

as a class action consisting of one General Class, known as the

“EMCF Class”, and three Subclasses: the “Isolation Subclass”, the

“Mental Health Subclass”, and the “Units 5 and 6 Subclass”.              See

Opinion and Order [Docket No. 257].         Membership of the General

Class and Subclasses is defined as follows:

       1. The EMCF Class: All persons who are currently, or
       will be, confined at the East Mississippi Correctional
       Facility.

       2.    The Isolation Subclass: All persons who are
       currently, or will be, subjected to Defendants’ policies
       and practices of confining prisoners in conditions
       amounting   to   solitary   confinement   at  the   East
       Mississippi Correctional Facility.

       3.   The Mental Health Subclass: All persons who are
       currently, or will be, subjected to Defendants’ mental
       health care policies and practices at the East
       Mississippi Correctional Facility.

       4. The Units 5 and 6 Subclass: All persons who are
       currently, or will be, housed in Units 5 and 6 at the
       East Mississippi Correctional Facility.


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Id. at 43.    Defendants’ Motion to appeal that decision was denied

by the United States Court of Appeals for the Fifth Circuit.                 See

Dockery v. Fisher, Appeal No. 15-90110.

     The specific claims alleged in their Complaint are as follows:

     Claim One – The policies and practices at EMCF subject
     members of the EMCF Class to a substantial risk of
     serious harm and injury from inadequate medical care,
     including dental care, optical care, and other health-
     related services.


     Claim Two - The policies and practices at EMCF subject
     members of the Mental Health Subclass to a substantial
     risk of serious harm and injury from inadequate mental
     health care.


     Claim Three - The policies and practices at EMCF subject
     members of the Isolation Subclass to a substantial risk
     of   serious    harm   and    injury       from   housing   them   in
     conditions      that   amount       to     solitary    confinement,
     including      risks   of    harm       from   inadequate   physical
     exercise, filthy and unsafe environmental conditions,
     inadequate       nutrition,      inadequate        mental     health
     treatment, and conditions of extreme social isolation
     and sensory deprivation.


     Claim Four - The policies and practices at EMCF subject
     members of the EMCF Class to a substantial risk of
     serious harm and injury from the infliction of excessive
     force.
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     Claim Five - The policies and practices at EMCF subject
     members of the EMCF Class to a substantial risk of
     serious harm and injury by failing to protect them from
     violence, ignoring emergency situations, and enabling
     violent attacks on prisoners.


     Claim Six - The policies and practices at EMCF subject
     members of the Units 5 and 6 Subclass to a substantial
     risk    of     serious       harm    and        injury     from   dangerous
     environmental conditions, including vermin, exposure to
     smoke   and     other    toxic      substances,          filthy   cells   and
     fixtures, broken plumbing, inoperable lighting, constant
     illumination, and inadequate ventilation.


     Claim Seven - The policies and practices at EMCF subject
     members of the EMCF Class to a substantial risk of
     serious      harm      and    injury       by     providing       inadequate
     nourishment to maintain health, and by serving food in
     an unsanitary and unsafe manner.

Through   these     claims,       Plaintiffs     seek     declarations,        under   42

U.S.C. § 1983, that the policies and practices in use at EMCF at

the time the lawsuit was filed violate their constitutional rights

as protected by the Eighth Amendment.                    Plaintiffs also seek to

enjoin the continued use of those policies and practices, and

request that the named prison officials be required to implement

prison    reforms    that    eliminate      the       substantial      risks   of    harm


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resulting from (1) inadequate medical and mental health care; (2)

unsanitary and dangerous environmental conditions; (3) the use of

excessive force by staff; (4) prisoner-on-prisoner violence; (5)

malnutrition and unsanitary food preparation; and (6) the use of

isolated confinement.            At a minimum, Plaintiffs request that the

court-ordered         plan:     (1)   prohibit       solitary     confinement       under

conditions       of    social    isolation        and   sensory      deprivation;     (2)

provide timely and adequate treatment for both mental and physical

illness; (3) protect prisoners from excessive force at the hands

of staff and from harm from other prisoners; (4) require that

prisoners be housed in safe, clean, and sanitary conditions; (5)

provide    prisoners      nutritionally           adequate,    and    safely   prepared

meals;     and    (6)    require      that        prison    officials     monitor    the

performance       of    all     private      prison        contractors.        Finally,

Plaintiffs request costs and attorneys’ fees under 42 U.S.C. §

1988.

        During the course of pre-trial litigation, multiple discovery

disputes arose between the parties that needed to be resolved by

the Court.       The discovery disputes, and the time needed thereafter

to complete discovery and prepare for trial resulted in several

continuances being granted at the request of both parties.                           The

case was tried to the bench between March 6, 2018, and April 9,

2018.     In addition to hearing testimony and reviewing exhibits,
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the Court toured the subject prison.            Following trial, an Order

was entered by which the case was stayed to allow the parties to

conduct additional post-trial discovery, which included permitting

the experts to again inspect EMCF and proffer supplemental reports

detailing the effects, if any, of the changes made at EMCF during

the course of litigation.       See Order [Docket No. 767].         As before,

discovery   disputes    arose    between   the    parties    that    required

resolution by the Court and extensions of time to submit the

supplemental reports.    After the supplemental reports were filed,

the Court entered an Order by which the parties were permitted to

submit post-trial briefs.        See Order [Docket No. 830].          By this

Order,   Plaintiffs    were     required   to    expressly    identify    the

remaining bases for their alleged constitutional violations and

were expressly notified that any basis that had been alleged in

the Complaint, but not again identified in post-trial briefing,

would be treated as withdrawn and/or abandoned.              Id. at 5.    The

Court has now considered all pleadings and evidence before it and

is prepared to rule on Plaintiffs’ claims.



                              II.   Standards

     The United States Supreme Court has recognized that while the

Constitution “does not mandate comfortable prisons,” see Rhodes v.

Chapman, 452 U.S. 337, 349 (1981), it does not permit the existence
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of those that are inhumane.            Farmer v. Brennan, 511 U.S. 825, 832

(1994).       Thus, “the treatment a prisoner receives in prison and

the conditions under which he is confined are subject to scrutiny

under the Eighth Amendment.”            Helling v. McKinney, 509 U.S. 25,

31 (1993).           In prohibiting cruel and unusual punishment, the

Eighth Amendment places restraints on prison officials, who, for

example may not use excessive physical force against prisoners.

See Hudson v. McMillian, 503 U.S. 1 (1992).                    The Eighth Amendment

also    imposes       duties   on   prison        officials     to    provide     humane

conditions of confinement; ensure that inmates receive adequate

food, clothing, shelter, and medical care; and “take reasonable

measures to guarantee the safety of the inmates.”                       See Hudson v.

Palmer, 468 U.S. 517, 526–527 (1984).

       In determining whether prison officials have violated the

Eighth Amendment, courts apply a two-pronged analysis.                      The first

consideration is whether there has been an objective showing that

the complained of constitutional deprivation is of a “sufficiently

serious” nature.         See Wilson v. Seiter, 501 U.S. 294, 298 (1991).

To     meet    the     “sufficiently     serious”         requirement,      a     prison

official’s act or omission must result in the denial of “minimal

civilized measure of life’s necessities,” see Rhodes v. Chapman,

452    U.S    337,    347   (1981),    or        result   in   a     prisoner’s    being

incarcerated under conditions that pose a substantial risk of
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serious   harm.      See    Helling,        509    U.S.   at   35.   The   second

consideration     bears    on   whether      the     prison    official    had   a

“sufficiently culpable state of mind” see Wilson, 501 U.S. at 298,

i.e. that he or she acted with “deliberate indifference” to a

prisoner’s health or safety.           Id. at 302–303. To satisfy the

“deliberate indifference” requirement, it must be shown that a

prison official “knows of and disregards an excessive risk to

inmate health or safety [--] the official must both be aware of

facts from which the inference could be drawn that a substantial

risk of serious harm exists, and he must also draw the inference.”

Farmer, 511 U.S. at 837.

     Here, to remedy the alleged Eighth Amendment violations,

Plaintiffs seek injunctive relief.                The Prison Litigation Reform

Act (“PLRA”), greatly limits the ability of a court to fashion

injunctive relief. Before an injunction can issue, a district court

must find that “such relief is narrowly drawn, extends no further

than necessary to correct the violation of the Federal right, and

is the least intrusive means necessary to correct the violation.”

18 U.S.C. § 3626(a)(1)(A).       The court must also “give substantial

weight to any adverse impact on public safety or the operation of

a criminal justice system caused by the relief.” Id.

     The Supreme Court has also held that in cases in which inmates

seek injunctive relief to prevent substantial risks of serious
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injury    from   ripening     into   actual      harm,     the    Eighth   Amendment

deliberate indifference standard “should be determined in light of

the prison authorities current attitudes and conduct”, i.e. “their

attitudes and conduct at the time suit is brought and persisting

thereafter.”       Farmer,     511   U.S.     at   841.     (citation      omitted).

Further, a prisoner seeking injunctive relief on the grounds that

there is “a contemporary violation of a nature likely to continue,”

must show both the existence of a violation and produce evidence

“from which it can be inferred that the [prison] officials were at

the time suit was filed ... knowingly and unreasonably disregarding

an   objectively    intolerable      risk   of     harm,    and    that    they    will

continue to do so ... during the remainder of the litigation and

into the future.”       Id.   As regards this showing, “inmates may rely

on developments that postdate the pleadings and pretrial motions,

[and] defendants may rely on such developments to establish that

the inmate is not entitled to an injunction.”                    Id.



                               II.    Discussion

A.    Claim One - Medical Care

       In order to prevail on an Eighth Amendment claim arising from

the alleged deprivation of medical care, a prisoner must show that

appropriate      care   has   been   denied,       and     that    the    denial    has

constituted “deliberate indifference to serious medical needs.”
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Thomas v. Carter, 593 F. App’x 338, 342 (5th Cir. 2014)(citing

Estelle v. Gamble, 429 U.S. 97 (1976)).        A prisoner’s belief that

he should have received different treatment does not implicate the

Eighth Amendment because a mere disagreement with the medical

treatment that was provided, absent exceptional circumstances,

does not support a claim of deliberate medical indifference.

Gobert v. Caldwell, 463 F.3d 339, 346 (5th Cir. 2006).        Similarly,

claims of negligence, medical malpractice, or unsuccessful medical

treatment do not give rise to Section 1983 claims. See e.g.

Zaunbrecher v. Gaudin, 731 F. App’x 340 (5th Cir. 2016). Rather,

“subjective recklessness as used in the criminal law” is the

appropriate   definition   of   “deliberate   indifference”   under   the

Eighth Amendment.   Farmer v. Brennan, 511 U.S. 825, 839-30 (1994).

A prison official acts with deliberate indifference only if the

official (1) “knows that inmates face a substantial risk of serious

bodily harm,” and (2) “disregards that risk by failing to take

reasonable measures to abate it.”       Gobert, 463 F.3d at 346 (quoting

Farmer, 511 U.S. at 847)). The deliberate indifference standard

sets a very high bar.      To succeed on a Section 1983 claim, a

prisoner must establish that the defendants “refused to treat him,

ignored his complaints, intentionally treated him incorrectly, or

engaged in any similar conduct that would clearly evince a wanton

disregard for any serious medical needs.”        Domino v. Texas Dept.
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of Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001)(quoting

Estelle, 429 U.S. at 97). Further, a mere delay in providing

medical treatment does not amount to a constitutional violation

without both deliberate indifference and a resulting substantial

harm. Easter v. Powell, 467 F.3d 459, 463 (5th Cir. 2006)(citations

omitted).

     Plaintiffs claim that the medical care they receive at EMCF

is constitutionally inadequate for several reasons including that:

(1) they are denied access to treatment for urgent, non-urgent,

and chronic medical conditions because there is not a rapid and

confidential means for alerting staff of medical problems; (2)

they are subjected to “unacceptably long delays” in receiving

medical treatment; and (3) the treatments they receive are below

the standards set for medical health care providers.                  In support

of these claims, Plaintiffs rely on evidence from their expert

witnesses,       Dr.   Marc   Stern   (“Stern”)      and      Madeleine   LaMarre

(“LaMerre”), both of whom testified as to the medical care provided

at EMCF.     While the testimony of these experts could support a

finding     of    deficient   medical        treatment   as    regards    certain

prisoners, the Court finds it has not been shown to be applicable

to all class members.

     For example, Stern testified that his opinions were based on

what he termed “purposeful” or “purposive” sampling, and that his
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limited sample only included prisoners whose records established

that    they      had    complex   medical    histories,      and   who    had   sought

treatment in complicated or difficult situations.                     See Tr. Vol.

19,    at   48.         Additionally,   Stern     testified    that   his    opinions

regarding the delivery and adequacy of medical care at EMCF were

not based on accepted national or prison standards, including those

promulgated        by     the   American   Correctional       Association        or   the

National Commission on Correctional Health Care but, instead, he

based his opinions entirely on his training and experience in

reviewing and working with prisons.                     See id. at 54.           Stern’s

personal opinions regarding the adequacy of the medical care

provided to prisoners at EMCF does not establish a standard for

decency.       See Rhodes, (explaining that expert opinions regarding

desirable       prison      conditions       do   not    “suffice     to    establish

contemporary standards of decency.”).               Similarly, LaMarre’s expert

opinions and testimony were likewise based on a non-random sample

consisting of only twenty prisoners at EMCF, see Tr. Vol. 28, at

11, and she did not know whether her opinions would be applicable

to all class members.              See id. At 14 (testifying, for example,

that while one prisoner had not been medically screened within the

first twenty-four hours following his transfer to                           EMCF, she

did not know how many other prisoners, if any, had not been

screened).
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     Also relevant to the issue of medical care, the record shows

that the MDOC cancelled the contract with Health Assurance, LLC,

i.e. the company that had been providing health care services at

EMCF at the time the lawsuit was filed, after the bribery scheme

between its owner, Dr. Reddix, and then-MDOC Commissioner Epps,

became known.      Tr. Vol. 23, at 48. As of July of 2015, a new

company, Centurion of Mississippi, has been providing medical and

mental health care services at EMCF.         Id.    As of August of 2017,

Patrick Arnold (“Arnold”) has been the chief physician at the

prison.     In addition to Arnold, the medical care team at EMCF

includes    five   nurse    practitioners,    eight     registered   nurses,

seventeen     licensed     practical    nurses,    an   infection    control

coordinator, a pharmacy technician, and a dental assistant.              The

prison also employs several part-time dentists and a part-time

pharmacist.    Arnold Dec. [Docket No. 812], 3.          Prisoners request

medical treatment by completing a “sick call” request form that is

reviewed by medical staff within twelve to twenty-four hours.            The

healthcare system at EMCF is monitored and assessed through a

Continuous Quality Improvement Program, see Tr. Vol. 24, at 52,

and has been accredited by the American Correctional Association

(“ACA”).

     After Centurion began providing healthcare services at EMCF,

and since Arnold assumed the chief physician position, all sick
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call requests are now being assessed within twenty-four hours by

a nurse who conducts a face-to-face evaluation of the prisoner and

then refers the prisoner for either urgent treatment with an in-

house medical provider or schedules the prisoner for routine care.

Tr. Vol. 35, at 28.      If it is determined that a prisoner needs

urgent care, he is seen by a health care provider that day.            Id.

at 29.   If it is determined that a prisoner needs routine care,

he is generally seen within seven days of the sick call request.

Approximately 150-200 prisoners who submit sick call requests are

seen by medical providers each week.           Id., at 32.   Prisoners in

need of emergent care are immediately transferred either to the

prison medical unit or a local emergency room depending on the

nature and severity of the emergency.      Id. at 33-34.

      Having reviewed the evidence, the Court finds that Plaintiffs

have failed to show that they, as members of a class or classes,

are being denied constitutionally adequate medical care while

housed at EMCF.   While Plaintiffs and their expert witnesses have

presented evidence to show that there have been times when the

provision of medical care at EMCF was delayed or may not have been

adequate, they have not shown that Defendants have acted with

deliberate indifference to their medical needs on a class-wide

basis.   There is insufficient evidence that prisoners, as a class,

are   being   refused   treatment,    having    their   medical   problems
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ignored, or are intentionally being mistreated as is required to

succeed on a Section 1983 claim.

       Plaintiffs also claim they are receiving constitutionally

deficient medical care based on the manner that medications are

administered at EMCF.              In support of this claim, Plaintiffs argue

that   they      do    not      timely   receive     prescribed    medications     (and

sometimes do not receive them at all) because the prison does not

ensure that required medications are properly stocked.                        Plaintiffs

also argue that the nurses who administer medications fail to

adhere      to   generally         accepted   standards    and    fail   to     properly

document that medications were given and taken as prescribed.

       In    support       of    this    claim,     Plaintiffs    rely   on     evidence

including a sampling of Medication Administration Records (“MARs”)

that show that some prisoners had not received all doses of

prescribed medication and some had not received medications as

scheduled.            To     the    extent    the    missed      doses   or     untimely

administration of medications evidenced on the MARs reflect human

error or poor record keeping, they do not amount to constitutional

violations.           See e.g. Daniels v. Williams, 474 U.S. 327 (1986)

(holding that negligent conduct does not rise to the level of

constitutional violations).                In addition, there is insufficient

evidence that Plaintiffs, as a class, suffered substantial harm as

a result of the missed doses or delays as is required to maintain
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a Section 1983 claim. See e.g. Mendoza v. Lynaugh, 989 F.2d 191,

193 (5th Cir. 1993).


     The missed doses and untimely administration of medication

that resulted because of insufficient medication being available

at the prison could, arguendo, rise to a class-wide harm.              The

record   shows,   however,   that   Defendants   have   not   acted   with

deliberate indifference to the harms that could result because

medications are not given as prescribed.      First, after the lawsuit

was filed and at the time of trial, EMCF had established its own

on-sight pharmacy that permitted it to stock medications for

prisoner use.     EMCF has also obtained a pharmacy license that

permits it to stock psychiatric medications on the premises.           The

prison also now has in place protocols to assess and monitor

prisoners who have missed more than three doses of medication.

Under this protocol, any prisoner who misses three consecutive

doses of medication has a notice placed in his medication record,

and that prisoner is automatically seen by a health care provider

to determine the reason(s) the medications were missed.         Tr. Vol.

34, 113-15.   Based on the establishment of an in-house pharmacy,

and the implementation of new medication administration policies,

EMCF had a ninety-three percent compliance rating for medication

administration as of October of 2018.            The Court finds this


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compliance rating is within reasonable limits.


       In sum, the Court finds that Plaintiffs have not shown that

their Eighth Amendment rights have been violated with respect to

the provision of health care or medications at EMCF.              The Court

notes that the record does show that there were instances when

medical treatment was delayed, when medications were not timely

administered, and when prisoners may have responded better had

different    medical   care   been   provided.     The   record   does   not,

however, show that prisoners, as a class, are systematically being

denied medical treatment or having their medical needs ignored.

The record also does not show that Defendants have acted with

deliberate indifference to the medical needs of prisoners at EMCF.

Defendants have contracted with a new company to provide medical

care at EMCF, they have established an in-house pharmacy and new

protocols to ensure prisoners are receiving prescribed medication,

and requests for medical care are now being timely triaged and

answered.     Accordingly, judgment will be granted in Defendants’

favor on Plaintiffs’ Eight Amendment health care claim.



B.    Claim Two - Mental Health Care

       The standard for proving an Eighth Amendment claim for the

deprivation of psychiatric care is the same as that used when


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considering medical care claims, i.e. a prisoner must show that

appropriate care has been denied, and that the denial constituted

“deliberate indifference to serious medical needs.” Thomas, 593 F.

App’x at 342.     Again, a prisoner’s disagreement with the care he

has   received,   and   allegations    of   negligence   and   unsuccessful

treatment outcomes do not support a claim of deliberate medical

indifference.     Instead, to be found to have acted with deliberate

indifference, a prison official must (1) “know[] that inmates face

a substantial risk of serious bodily harm,” and (2) “disregards

that risk by failing to take reasonable measures to abate it.”

Gobert, 463 F.3d at 346 (quoting Farmer, 511 U.S. at 847). To

succeed on a Section 1983 claim, a prisoner must be able to

establish that the defendants “refused to treat him, ignored his

complaints, intentionally treated him incorrectly, or engaged in

any similar conduct that would clearly evince a wanton disregard

for any serious medical needs.”        Domino, 239 F.3d at 752 (quoting

Estelle, 429 U.S. at 97). Further, a mere delay in providing

medical treatment does not amount to a constitutional violation

without both deliberate indifference and a resulting substantial

harm.   Easter, 467 F.3d at 463.

      Plaintiffs claim that the mental health care they are provided

at EMCF violates the Eighth Amendment.         As discussed above, after

the lawsuit was filed, Defendants contracted with a new company,
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Centurion, to provide mental health care services at EMCF.                             In

October of 2015, Centurion hired Dr. Kim Nagel (“Nagel”) to the

position of chief psychiatrist at the prison.                  Upon his hiring,

Nagel made multiple changes with respect to the delivery of mental

health care at the prison, including increasing the amount of

counseling    received       by     prisoners,          limiting     the        use    of

tranquilizing   medications,        and    eliminating       the    use    of    habit-

forming medications.         Currently, Dr. Steven Bonner (“Bonner”)

serves as the chief psychiatrist.               Along with Bonner, the mental

health team consists of a full-time psychologist, five psychiatric

nurse practioners, seven licensed (masters-level) counselors, and

two mental health activity therapists.

     Approximately two-thirds of all prisoners at EMCF have mental

illnesses/disorders that require treatment.                 The vast majority of

these    prisoners    have   what    are       termed    “stable    mental       health

problems”, which are problems that are controlled with medication.

These    prisoners    are    seen    by    counselors       each    month       and    by

psychiatric staff every three months.                   The few prisoners whose

mental    illnesses    require      closer      monitoring    are    seen       by    the

psychiatric staff at least once per month.

     EMCF operates a separate unit, designated “Unit 3”, which

houses    prisoners    whose      mental       illnesses     require       additional

treatment and safety measures and/or render them too vulnerable
                                          25
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for placement in other units.                  See Bonner Dec. [Docket No. 812],

at 6-7.       After the lawsuit was filed, but before trial, EMCF also

created   a     new    Acute       Care     Unit    (“ACU”),   in   order    to   provide

intensive treatment, counseling, and therapy to prisoners with

difficult mental illnesses.                   Id. at 7-8.      Dr. Bonner treats all

prisoners in Unit 3 and the ACU and oversees the mental health

therapies these prisoners are provided by other staff members.

       Plaintiffs argue that the mental health care they receive is

deficient because EMCF has an inadequate intake process, which

fails to promptly and reliably detect mental health needs and/or

fails    to    insure       the    continuity        of   mental    health   treatment.

Plaintiffs do not dispute that every prisoner is twice-screened

upon    his    placement          at   EMCF    but,    instead,     argue    that    those

screenings are inadequate or deficient.                    In support of this claim,

Plaintiffs cite evidence from their correctional mental health

care expert, Dr. Bruce Gage (“Gage”), who testified that the

assessments performed at EMCF are inadequate because staff does

not consistently review the entire medical record as part of the

intake process.         See Tr. Vol. 26, at 55.             Gage also testified that

the assessments he reviewed contained erroneous information.                          Gage

Rep.    [Docket       No.   807],      at     10.     Plaintiffs     also    argue   that

assessment and treatment plans for mentally ill prisoners at EMCF

are inadequate because they lack specificity, fail to consistently
                                               26
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identify symptoms for targeted treatment, and do not include

behavior management plans like those used in other prisons.

     As regards the provision of mental health care, Plaintiffs

argue it is deficient and/or inadequate because they are provided

infrequent or inappropriate access to mental health providers and

are provided insufficient access to other structured mental health

treatment   programs   such   as   group   therapy   and   mental   health

activities.   Plaintiffs also argue that the mental health staff

at EMCF does not adequately respond to prisoners who are in mental

health crises including transferring such prisoners to outside

medical facilities.

     As discussed above, after the lawsuit was filed, a new company

was hired to provide mental health care services at the prison.

Although Plaintiffs, through Gage, argue that the mental care they

are receiving is inadequate and that they would likely respond

better if different treatment was provided, they have not shown

that they are being denied treatment, that their mental illnesses

or disorders are being ignored, or that they are intentionally

being mistreated.   In other words, Plaintiffs’ arguments that they

should be screened differently, have different types of treatment

plans, and be provided different forms of mental health treatment

do not establish a constitutional violation.           The record also

shows that Defendants have not acted with deliberate indifference
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with respect to the mental health needs prisoners at EMCF.              Again,

Defendants contracted with a new company to provide mental health

care at EMCF and established an in-house pharmacy to decrease

disruptions in administering medications.             The prison also created

the ACU for the purpose of housing, monitoring, and treating

prisoners   who     have   severe   mental   illnesses,     and    maintains   a

separate unit to house prisoners whose mental illnesses require

more    treatment    or    pose   greater    safety    concerns.      Although

prisoners at EMCF are not getting the type and amount of mental

health care that may be available to non-prisoners, the Court finds

that the mental health care they are being provided has not been

shown to be constitutionally deficient.

       In sum, the evidence in the record shows that Plaintiffs, as

a class, are receiving mental health care at EMCF, and that

Defendants are not acting with deliberate indifference to their

mental health needs or the risks of harm that could result if their

needs were not addressed.           Although Plaintiffs argue, through

their expert Gage, that they should be given different types of

mental health care and different types of medication, and that the

security and mental health staff should interact with them in a

different manner, they have not shown that their constitutional

rights are being violated based on the manner in which they are

now treated.      In other words, the Court finds that Plaintiffs’
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challenges regarding the frequency, adequacy, and appropriateness

of the mental health care being delivered at EMCF do not arise to

level necessary to violate the Eighth Amendment.              Accordingly,

judgment will be granted in Defendants’ favor on Plaintiffs’ Eight

Amendment mental health care claims.



C.    Claim Three - Isolation/Solitary Confinement

       Although solitary confinement does not per se violate the

Eighth Amendment, “there is a line where [its] conditions [can]

become so severe that its use is converted from a viable prisoner

disciplinary tool to cruel and unusual punishment.”               Gates v.

Collier, 501 F.2d 1291, 1304 (5th Cir. 1974).            Here, Plaintiffs

claim that the length of time some prisoners are held in solitary

confinement violates their Eighth Amendment rights.                On this

issue, several Plaintiffs testified that they had been held in

solitary confinement/isolation for extended periods of time.            See

e.g. Tr. Vol. 11 (Plaintiff Grogan testifying he had been held in

isolation since 2014); Tr. Vol. 15 (Mitchell testifying he had

been held in isolation for two and one-half years).             Plaintiffs

argue that the isolation that results from the extended periods of

solitary confinement harms their physical and mental health or

places them at a substantial risk for such harm.

       In    support    of    this     claim,    Plaintiffs     cite    the
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opinions/testimony     of   Dr.   Terry   Kupers   (“Kupers”),   who   was

qualified as an expert in the area of the psychological effects of

isolation and solitary confinement.       In his expert report, Kupers

opined that placing a prisoner in solitary confinement can result

in his experiencing, inter alia, anxiety, depression, irrational

anger, confused thinking, and increase the risk of suicide.            See

Post Tr. Brief Ex. 77 Kuper Rep., 12-13.           According to Kupers,

periods of solitary confinement should not exceed fifteen days.

Tr. Vol. 16, at 35.         This opinion mirrors the position of the

National Commission on Correctional Health Care that “[p]rolonged

(greater than 15 consecutive days) solitary confinement is cruel,

inhumane, and degrading treatment, and harmful to an individual’s

health.”   Id.

     The Court finds Kupers’s testimony/opinion that a prisoner

should not be held in solitary confinement for more than fifteen

days does not create a benchmark for determining whether any

constitutional rights have been violated.          See Rhodes, 452 U.S.

at 348 (explaining that expert opinions regarding desirable prison

conditions do not “suffice to establish contemporary standards of

decency.”).      In addition, Plaintiffs have not shown that their

being placed in solitary confinement was not justified, or that

the conditions under which they are being confined are inhumane.

Although Plaintiffs complain that they often do not get the five-
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hours-per-week recreation time, or the three showers-per-week as

prescribed by EMCF policy, longer periods of continuous cell time

have been found constitutional.          See e.g. Hernandez v. Valaquez

522 F.3d 556, 561-62 (5th Cir. 2008)(finding that the denial of

recreation time for a thirteen-month period had not violated the

prisoner’s constitutional rights).

     Plaintiffs   also   complain        that   the   lights   in     solitary

confinement cells do not function for extended periods of time.

They have not shown, however, that Defendants are deliberately

indifferent to the risks associated with no or limited lighting.

The record shows that the main reason for non-functioning lights

at EMCF is that prisoners tamper with and/or break light fixtures

and bulbs.   Defendants have shown that EMCF has maintenance crews

that routinely repair and replace equipment that has been damaged

or destroyed by the prisoners, including light fixtures; that the

prison annually spends over $700,000 on maintenance and repairs;

and that the prison has begun installing an up-graded light fixture

that is more tamper-resistant.

     Having reviewed the evidence, the Court finds Plaintiffs have

failed to show that their constitutional rights are being violated

based on either the length of time they are housed in solitary

confinement, or the conditions of that confinement.                 Plaintiffs

have likewise failed to show that Defendants have acted with
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deliberate      indifference     to    the   risks    posed    by    solitary

confinement/isolation.       Accordingly, judgment will be granted to

Defendants on Plaintiffs’ isolation claim.



D.    Excessive Force

       The Supreme Court has held that the use of excessive force

against prisoners may constitute cruel and unusual punishment in

violation of the Eighth Amendment regardless of whether serious

injury results.      Hudson v. McMillian, 503 U.S. 1, 4 (1992).          “In

evaluating excessive force claims under the Eighth Amendment, the

‘core judicial inquiry’ is ‘whether force was applied in a good-

faith effort to maintain or restore discipline, or maliciously and

sadistically to cause harm.’” Cowart v. Erwin, 837 F.3d 444, 452

(5th Cir. 2016)(quoting Hudson, 503 U.S. at 6-7).             “This standard

focuses on ‘the detention facility official’s subjective intent to

punish.’” Waddleton v. Rodriguez, 750 F. App’x 248, 253 (5th Cir.

2018)(quoting      Cowart,     837    F.3d   at   542)(internal     citations

omitted).     To determine a prison official’s subjective intent, and

thus whether the use of force was constitutionally permissible,

see Cowart, 837 F.3d at 452-53, courts consider the following

factors: (1) “the extent of injury suffered by an inmate”, (2)

“the need for application of force”, (3) “the relationship between

the need for force and the amount of force used”, (4) “the threat
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‘reasonably perceived by the responsible officials’”, and (5) “any

efforts made to temper the severity of a forceful response.”

Waddleton, 750 F. App’x at 253 (quoting Hudson, 503 U.S. at 7).

     Plaintiffs    claim   that   the   excessive   force    employed    by

security officers at EMCF subjects them to substantial risks of

serious harm.     The policy of the MDOC regarding the use of force

provides, inter alia, that the use of force should be planned,

involve verbal intervention, and be used as a last possible resort

when possible.      Pls.’ Post Tr. Brief, Ex. 99.           In situations

involving mentally ill prisoners, like the majority of those housed

ay EMCF, planned use of force should incorporate intervention by

mental health staff.    Id.

     In support of their excessive force claim, Plaintiffs cite

evidence presented by their correctional practices and security

expert, Eldon Vail (“Vail”). Vail testified that security officers

at EMCF engage in two types of force, either spontaneous uses of

force (“SUOF”) or planned uses of force (“PUOF”).        Tr. Vol. 4, at

8-11.   According to Vail, SUOF should only be used when prisoners

“presen[t] an immediate or imminent risk of harm.”          Pls.’ Post Tr.

Brief, Ex. 78, at 34.      In all other instances, security officers

should be required to use a PUOF, and the PUOF should include a

requirement that mental health staff first attempt to de-escalate

situations involving prisoners before any other method of force is
                                   33
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used.    Tr. Vol. 2, 135.      Thus, Vail’s opinion seems to be that a

SUOF in circumstances other than those in which a prisoner presents

an immediate or imminent risk of harm, constitutes an excessive

use of force and, therefore, is unconstitutional.

       In arguing that they have been subjected to excessive force,

Plaintiffs cite incident reports showing that security officers at

EMCF used chemical spray against prisoners who had been locked in

cells or confined in other secure areas. Pls.’ Post Tr. Brief, Ex.

17.    According to Plaintiffs, because the prisoners were confined,

and therefore did not pose an immediate/imminent risk of harm, the

use of chemical spray constituted excessive force.

       Although   Vail   testified    to      his    opinion   that    a    SUOF   is

excessive except in cases in which a prisoner’s conduct could

result in immediate/imminent harm, his opinion does not establish

that the application of a SUOF in all other circumstances violates

the Constitution.        See e.g. Green v. Farrell, 801 F.2d 765, 770

(5th     Cir.     1986)(“Expert      recommendations           do     not    create

constitutional     standards    under        the    eighth   amendment.”)(citing

Rhodes, 452 U.S. at 348 n.13)).               In addition, if adopted as a

constitutional standard, Vail’s opinion would divest the Court of

its duty to measure the force used against the threat posed by the

prisoner as “‘reasonably perceived by the responsible officials’”.

Waddleton, 750 F. App’x at 253 (quoting Hudson, 503 U.S. at 7).
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     For example, the record shows that chemical spray has been

used on prisoners who have refused to permit security officers to

close and secure the food tray slots on their cell doors.                Warden

Shaw testified that allowing the food tray slots to remain open

presents significant safety and security issues because prisoners

reach through the open slots to tamper with the locking mechanisms

on their cells, pass contraband, and throw things (including

flaming debris) into the common area of the pods.                 Tr. Vol. 31.

The use of chemical spray on prisoners who refuse to allow their

food tray slots to be secured does not, as a matter of law,

constitute an excessive use of force.          See e.g. Poe v. Texas Dep’t

of Criminal Justice, 306 F. App’x 866, 867-68 (5th Cir. 2009).

     Finally,    even   if   the   Court    were   to    find   that   the   SUOF

incidents cited by Plaintiffs amounted to excessive force, they

are still required to show that Defendants acted with deliberate

indifference to the risks presented by that use.                They have not.

The record shows that security officers are required to undergo

training regarding the use of force against prisoners, and that

all incidents involving the use of force are reviewed.

     In sum, the Court finds that Plaintiffs have failed to show

either   that   the   SUOF   at    EMCF    constitutes    an    application   of

excessive force, or that Defendants have acted with deliberate

indifference to the risk of harm that could result when force is
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used against prisoners.         Accordingly, Defendants will be granted

judgment on Plaintiffs’ excessive force claims.



E.    Claim Five - Protection from Harm

       The Eighth Amendment imposes a duty upon prison officials to

protect prisoners from violence at the hand of other prisoners.

Farmer, 511 U.S. at 831-32.           See also Wilson, 501 U.S. 300, 303

(classifying “the protection [an inmate] is afforded against other

inmates”     as    a   “conditio[n]     of   confinement”   subject   to   the

strictures of the Eighth Amendment); Rhodes, 452 U.S. at 347

(finding that being assaulted in prison is simply not part of the

penalty that criminal offenders pay for the offenses against

society).         “It is not, however, every injury suffered by one

prisoner     at     the    hands   of    another    that    translates     into

constitutional liability for prison officials responsible for the

victim’s safety.”         Farmer, 511 U.S. at 831.    Instead, to prove an

Eighth Amendment violation based on prisoner-on-prisoner violence,

an inmate must show that he is incarcerated under conditions posing

a substantial risk of serious harm, and that prison officials

disregarded that risk by failing to take reasonable measures to

abate it.     Id. at 833-34.

       Plaintiffs claim they are not adequately protected from other

prisoners, and that that inadequacy places them at a substantial
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risk of serious harm from gang activity, assault, and violence. In

support of this claim, Plaintiffs first argue that the security

plan currently utilized by EMCF creates a systematic understaffing

problem, which in turn, increases the probability that they will

be subjected to prisoner-on-prisoner violence.

      By way of background, EMCF is designed for indirect prisoner

supervision, which means that security officers are not posted or

working inside each prisoner living area (pod) at all times.         Tr.

Vol. 33, at 24.    The staffing plan for the prison reflects that

design.   Id.; Tr. Vol. 31, at 47.        The prison consists of six

units, each of which is comprised of four pods.        Tr. Vol. 31, at

48.   Each pod contains prisoner cells and a common area.       The pods

and units are monitored by security guards called “floor officers”.

Each unit also has an elevated “picket tower” that is situated in

its center.    The picket tower is manned at all times by a “picket

officer”, who is able to see down into all of the pods in the unit,

the hallways that connect the pods in the unit, and the hallway

that connects the unit to the rest of the facility.        Tr. Vol. 31,

at 50.    The picket officer also electronically controls access

into and out of the prisoner cells, the pods in the unit, and the

unit itself.      Id.   In addition to being monitored by floor

officers and the picket officer, the pods/units as well as all

other parts of the prison are monitored by cameras that feed into
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“central control.”       Id. at 49.    The camera feeds are monitored by

central control officers who can remotely move the position of

cameras and “zoom in” or magnify images to assess particular

activity.    Id. at 48.       Central control officers also have the

ability to contact all security officers in the prison by radio.

Id. at 48.

     Plaintiffs     argue    that     the   staffing   plan   for   indirect

supervision at EMCF is inadequate to abate the risk of harm

associated with prisoner-on-prisoner violence.            This argument is

supported by the testimony of their expert witness, Vail, who

opined and testified that there should be at least one officer

assigned to each pod during the first and second shifts in units

housing   minimum   or    medium    security   inmates,   i.e.   four   floor

officers (one in each pod) in these units during the specified

shifts.   Tr. Vol. 3, at 5.        Vail also testified that there should

be at least two officers assigned to each pod during the first and

second shifts in units that house close custody and segregated

inmates, i.e. eight floor officers (two in each pod) in these units

during the specified shifts.            Id.    According to Vail, to be

minimally acceptable, the first and second shift staffing plan

would have to require the posting of (1) four mandatory floor

officers in each of the minimum/medium security units, (2) eight

mandatory floor officers in the close custody unit, and (3) five
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mandatory floor officers in the segregation unit.                 See Vail Rep.

[Docket No. 801], 9.

     During his testimony, Vail acknowledged that he was not an

expert in the area of prison staffing, and that he did not have

any experience regarding the management of prisons, like EMCF,

which utilize an indirect supervision system.              Tr. Vol. 5, at 34.

Vail also testified that he disagrees with the use of indirect

prisoner    supervision   at    EMCF    and    would   prefer   that   a     direct

supervision plan (i.e. four to eight floor officers posted in each

pod) be implemented.

     The    fact,    however,    that        Vail   believes    that   a    direct

supervision plan would be better at EMCF, does not render the

currently used indirect supervision plan unconstitutional.                     See

e.g. Green, 801 F.2d at 770 (“Expert recommendations do not create

constitutional standards under the eighth amendment.”)(citations

omitted).    Additionally, the record shows that EMCF, including its

staffing     plan,    received     accreditation         from    the       American

Corrections Association (“ACA”) in 2015, and again in 2018.                     See

Roth Supp. [Docket No. 812], at 14.             Based on this accreditation,

the Court finds that the decision by Defendants to continue using

an indirect prisoner supervision system at EMCF, as opposed to the

direct supervision system advocated by Vail, does not show that

they acted with deliberate indifference to a substantial risk of
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harm posed by the manner in which EMCF is staffed.                   See e.g. Street

v.    Corrections     Corp.   of    Am.,        102   F.3d   810,    817   (6th   Cir.

1996)(finding that even if the prisoner’s claim of understaffing

was true, there was no showing of deliberate indifference as the

prison staffing levels were “consistent with the ... American

Corrections Association.”).

       Second, Plaintiffs argue that even if the indirect prisoner

supervision system used by EMCF is adequate, Defendants have acted

with    deliberate     indifference        to    their   safety      by    failing   to

appropriately       staff   that    plan.        In   support   of    this   argument

Plaintiffs cite to evidence that shows that one or more mandatory

staffing positions at the prison was unfilled approximately thirty

percent of the time as recently as August of 2018.                    See Vail Supp.

[Docket No. 801], at 12.           In response, Warden Shaw testified that

there are times when staff members who have been scheduled to work

mandatory positions inform the prison that they will not be coming

to work or fail to appear as scheduled.                Tr. Vol. 31, at 44.        Shaw

also testified that the prison has made multiple changes to ensure

that all mandatory staff positions are filled.                  First, the prison

has increased the staffing level from 136 to 177 correctional

officers.     Id.     Second, EMCF has created a list of corrections

officers who can be called by the shift commander and are required

to report to duty to fill mandatory positions.                      Id.    Third, the
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prison has a system whereby correctional officers who are assigned

to nonmandatory posts can be reassigned to mandatory posts.              Id.

at 46.

       In sum, the Court finds that Plaintiffs have not shown that

they, as a class, are at a substantial risk of harm based on the

indirect prisoner supervision system used at EMCF.              The evidence

likewise does not show that Defendants have acted with deliberate

indifference to the risk of prisoner-on-prisoner violence either

by utilizing the indirect prisoner supervision system, or by

failing to fill mandatory staffing positions.            Judgement will be

granted to Defendants on Plaintiffs’ Eight Amendment protection

from harm claim.



F.    Claim Six - Environmental Conditions

       The Eighth Amendment requires that “inmates be furnished with

... basic human needs, one of which is reasonable safety.”             Deshay

v. Winnebago Cnty. Dept. of Social Servs., 489 U.S. 189, 200

(1989).      Thus, “[i]t is cruel and unusual punishment to hold

convicted criminals in unsafe conditions.”            Helling v. McKinney,

509 U.S. 25, 33 (1993)(internal citations omitted).              The United

States Court of Appeals for the Fifth Circuit has long recognized

that    environmental    prison   conditions    can   violate    the   Eighth

Amendment in cases in which those conditions “present a grave and
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immediate threat to health or physical well-being.”        See Campbell

v. Beto, 460 F.2d 765, 768 (5th Cir. 1972).          The Constitution,

however, “does not require that prisoners, as individuals or

groups, be provided with any amenity which some person may think

is needed to avoid mental, physical, and emotional deterioration.”

Newman v. State of Al., 559 F.2d 283, 291 (5th Cir. 1977).               To

succeed on a conditions-of-confinement claim, prisoners must show

there was an “extreme deprivation” of one or more of the “minimal

civilized measures of life’s necessities.”        Davis v. Scott, 157

F.3d 1003, 1006 (5th Cir. 1998)(quoting Wilson, 501 U.S. at 304).

Absent such showing, an Eighth Amendment violation will not be

sustained.

     Plaintiffs argue that their right to a safe prison environment

has been violated in three ways.         First, Plaintiffs argue that

lighting in the prison is deficient, and that that deficiency

substantially increases both the risk of their being injured and/or

assaulted, and the risk that their mental health will decline.           In

support of this argument, Plaintiffs cite opinions and testimony

offered   by     their   environmental     expert,   Diane    Skipworth

(“Skipworth”).    During the course of her inspections, Skipworth

measured the light levels of thirty-eight fixtures atEMCF and found

them to be below standards adopted by the American Public Health

Association (“APHA”) for correctional institutions.
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     As to Skipworth’s opinions, the record shows that the APHA is

a non-profit organization that recommends standards to address

health care concerns in prison.              Tr. Vol. 11, at 18.       The standards

recommended by the APHA are not mandated by any federal or state

law/agency.    Id.      Although Skipworth found lighting levels to be

below APHA standards, her testimony does not show that there was

a constitutional violation.              See e.g. Green, 801 F.2d at 770

(“Expert recommendations do not create constitutional standards

under the eighth amendment.”)(citations omitted).                      Additionally,

because Skipworth only tested a small fraction of the fixtures at

the prison, the Court finds her testimony would not establish that

light levels are deficient throughout the facility, or that all

prisoners,    as    a   class,    are   subjected          to   allegedly   deficient

lighting.

     Assuming, arguendo, that light levels at EMCF resulted in a

constitutional violation, the Court next considers whether EMCF

was deliberately indifferent to that condition.                    Evidence at trial

established    that     most     of   the     lighting      problems   at   EMCF   are

attributable       to   prisoners       who       damage    the    light    fixtures.

Maintenance    records     show       that       damage    lighting    fixtures    are

routinely repaired.            Tr. Vol. 11, a 21.                Although Skipworth

testified that, in her opinion, it sometimes took “a significant

amount of time” to effectuate requested repairs, she did not have
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any knowledge regarding the frequency of repair requests made at

the   prison,    or    the    repairs    themselves.              Id.     Additionally,

evidence    showed     that    EMCF     was       in    the    process    of    installing

alternate    light     fixtures       that        would   be    less     susceptible        to

tampering or destruction by prisoners. Thus, having heard the

evidence, the Court concludes that Plaintiffs have not shown either

that they have been denied safe prison condition based on the

lighting    at   the    prison,    or    that          Defendants      have    acted     with

deliberate indifference to the risks of harm associated with light

levels.

      Next, Plaintiffs argue that the failure of EMCF to maintain

adequate    fire      protection       and        ventilation       has       resulted      in

constitutionally       unsafe     conditions,             and    places        them    at    a

substantial risk of physical and mental health problems.                                    In

support of this claim, Skipworth testified that during her tour of

the facility, she witnessed evidence of prisoner-started fires

including, soot, ash, and smoke marks in both cells and common

areas of the prison.         Tr. Vol. 10, at 58.              Skipworth also testified

that ventilation at the prison was impaired because prisoners would

block intake and outflow air ducts with foreign objects.

      The record clearly demonstrates the existence of prisoner-

started fires at EMCF.         The record also shows, however, that EMCF

has taken several steps to address the risks associated with this
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problem.     Warden Shaw testified that the food tray slots on cell

doors are now locked when not in use thereby preventing prisoners

from throwing burning materials into the hallways and common areas

of the units.        Tr. Vol. 30, at 57.               EMCF also installed a new

ventilation system to more quickly remove smoke generated by fires

and has employed a certified technician who routinely inspects and

repairs the ventilation system.                 Id.    Having heard the evidence,

the Court concludes that even if the smoke generated from prisoner-

started    fires    had     created       unsafe      condition      of   confinement,

Plaintiffs    have       not     shown    that     Defendants     have     acted    with

deliberate indifference to the risks caused by that condition.

       Finally, Plaintiffs argue that they are at a substantial risk

of physical and mental harm from other environmental conditions at

EMCF    including       faulty     plumbing,       vermin,     and    general      prison

conditions.        In    support     of    this       claim,   Plaintiffs       cite   to

photographs that were taken in different areas of the prison before

the lawsuit was filed.           These photographs show, inter alia, broken

and/or over-flowing plumbing fixtures, smoke and soot residue in

cells and hallways, broken light fixtures, and general neglect and

decay.     Plaintiffs      also     cite    their       own    testimony     regarding

conditions at the prison.

       During the course of trial, the Court toured the prison and

found that the then-existing environmental conditions were in
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stark contrast to those depicted in the pre-lawsuit photographs.

During   its    inspection,     the   Court    found   no    evidence    of    the

environmental problems either depicted in the subject photographs

or described by the prisoners who testified at trial.                The evidence

also showed that prison officials have entered contracts by which

twice-monthly pest control services are performed at the prison.

Tr. Vol. 31, at 70.           The kitchen is cleaned each evening and

undergoes weekly sanitation inspections.               Tr. Vol. 32, at 86.

Additionally, some prisoners are assigned to the cleaning staff,

and are provided protective clothing and cleaning supplies and

receive training as to the proper use of the equipment/supplies.

       In sum, the environmental conditions existing at EMCF in the

past may have been intolerable.             Those conditions have changed.

The Court concludes, based on the evidence presented by the parties

and its own observations, that Plaintiffs have not shown that the

environmental      conditions    currently     existing      at   EMCF   are   so

unsanitary or unsafe that they either violate their constitutional

right to humane housing conditions or place them at substantial

risks of serious harm.        The Court also concludes that Plaintiffs

have    not    shown   that   Defendants      have   acted    with    deliberate

indifference to the risks of harm associated with housing prisoners

in unsanitary or unsafe facilities.            Judgment will be granted to

Defendants on Plaintiffs’ Eighth Amendment environmental claims.
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G.    Claim Seven - Adequate Nutrition

       The   Eighth   Amendment   requires      that    inmates   be   provided

“‘well-balanced meal[s], containing sufficient nutritional value

to preserve health.’”         Green v. Ferrell, 801 F.2d 765, 770 (5th

Cir. 1986).      See also Eason v. Thaler, 73 F.3d 1322, 1327 (5th

Cir. 1996)(“To comply with the Constitution, inmates must receive

‘reasonably      adequate’     food.”).       “The     deprivation     of   food

constitutes cruel and unusual punishment only if it denies a

prisoner the ‘minimal civilized measure of life’s necessities.’”

Talib v. Gilley, 138 F.3d 211, 214 n.3 (quoting Wilson, 501 U.S.

at 298).       “Whether the deprivation of food falls below this

threshold depends on the amount and duration of the deprivation.”

Id.      Plaintiffs   argue    that   their    Eighth    Amendment     right   to

adequate nutrition has been violated in three ways.

       First, Plaintiffs argue that the meals they are served (1)

deviate from the dietician-approved menus for the prison, and (2)

contain “significantly less nutritious foods” than provided by

those menus.     In support of this claim, Plaintiffs cite the report

their expert dietician, Diane Skipworth (“Skipworth”), who opined:

“[I]t appears that EMCF does not adhere to the dietician-approved

menu, placing prisoners at risk of under-nutrition, weight loss,

and malnutrition caused by an inadequate intake of vitamins and
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minerals.”   Pls.’   Post   Trial   Brief   [Docket   No.   836]   Ex.   81,

Skipworth Report, 13.

     The record does show, and so the Court finds, that prisoners

at EMCF were, at times, served food that differed from that listed

on the daily menu.    There was no evidence, however, regarding the

nutritional impact of those substitutions.            For example, when

asked in her opinion as a nutritionist, “[H]ow significant were

the discrepancies ... between the posted menus and the [meals]

that were served?”, Skipworth testified:

     It’s extremely important for a facility to adhere to the
     dietician-approved menu. That’s not to say that
     substitutions won’t and can’t occur, but the kitchen
     needs to take steps to ensure that if a substitution is
     made, it’s equally nutritious... There are... times when
     substitutions   will   occur,   but   adhering   to   the
     dietician’s menu plan is extremely important, especially
     in an environment like a prison where the prisoners don’t
     have other options for meals. So they are reliant upon
     the nutrients and the calories and the protein provided
     by the facility meals to ensure their health and well-
     being.

Tr. Vol. 10 at 83.      Similarly, in her expert report, Skipworth

details substitutions that were made to several dietician-approved

menus at the prison, but does not detail the nutritional effects

of those substitutions.      See 839, Ex. 81, 78-86.         Based on the

lack of expert opinion or testimony, the Court finds Plaintiffs

have not shown that they had been served nutritionally-deficient

meals for any extended period of time while housed at EMCF.          Thus,


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having heard the evidence and arguments, the Court concludes that

Plaintiffs have not shown that substitutions made to the dietician-

approved menus at EMCF resulted in inmates’ being either denied

well-balanced,   nutritionally   sufficient    meals,    or   being    at   a

substantial risk of such denial.

     Second, Plaintiffs claim they receive inadequate quantities

of food because kitchen workers/servers are instructed to dilute

food with water and/or decrease serving sizes.       In support of this

argument,   Plaintiffs   cite    the    testimony   of   Jimmie       Brewer

(“Brewer”), an inmate who worked as a cook and food server at EMCF

until October of 2016.     At trial, Brewer testified that he was

instructed by a member of the kitchen staff, “Mrs. Taylor”, to add

water while cooking meals, and to decrease serving sizes to insure

there was enough food for all the inmates.          Tr. Vol 11, 57-58.

Later testimony showed that Mrs. Taylor no longer works in the

kitchen at EMCF, and that Brewer had not worked in the kitchen for

approximately two years before trial.       Id. at 73.

     There was no evidence, however, regarding the nutritional

effect of the practices about which Brewer testified, or whether

the amount of food received by inmates was insufficient to meet

their daily nutritional needs.         When asked directly whether the

amount of food being served to inmates was inadequate, Skipworth

testified that the focus of her expert opinions was not amount
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but,    rather,     substitutions    that   were   made   to   the   dietician-

approved menus.       For example, when asked: “[W]ould it be fair to

say [that inmates] may be getting sufficient amounts of food to

fulfill their dietary needs or they may not? You just don’t know

one way or the other?”        Trans 11, at 32.      Skipworth responded: “I

have major concerns based on what I saw ...                My concern is the

changes to the menu.         But the changes that I saw ... are very

concerning.       But I don’t have the full amount of information I

need to better formulate an opinion.”              Id.    As discussed above,

there    was   no    evidence   regarding    the    nutritional      effect   of

substitutions that were made to the dietician-approved menus.

       The   Court    also   notes   that   approximately      twenty   inmates

testified at trial, and each complained about the quality and

quantity of the food they are served.              The Court observed that

despite their complaints, the inmates who testified did not appear

underweight and, indeed, most appeared to be somewhat overweight.

The undersigned also saw the food that inmates would be served

when he toured EMCF during trial.           The food was no more nor less

than that which would be expected to be prepared/served in a large

institutional setting.

       Having heard the evidence and arguments, the Court concludes

that Plaintiffs have not shown that dilutions and/or decreases in

serving sizes resulted in inmates’ being either denied well-
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balanced,      nutritionally      sufficient        meals,    or    being     at     a

substantial risk of such denial.

     Plaintiffs’ final adequate nutrition claim is that food is

either improperly prepared or prepared using unsafe food handling

procedures and in unsanitary conditions.               As regards this claim,

Plaintiffs cite the testimony of several inmates who testified

they saw insects and vermin excrement in food storage/preparation

areas at EMCF; had been asked to prepare food that appeared

spoiled;    and     had   been   served    under-cooked      meat   and    unwashed

produce.    Tr. Vol.      11, 25-81.

     The undersigned toured the food storage and preparations

areas   when   he    inspected    the     prison.     During    this      tour,    the

undersigned was also apprised of the food preparation practices

and procedures used at the prison.             It was observed that the food

storage and preparations areas were clean, and that food was

prepared and distributed in a sanitary manner.

     The evidence at trial showed that ECMC is under contract with

an outside vendor to provide pest control services, and that those

services are provided on a monthly basis.              Trans. vol. 11, at 30.

Although Skipworth testified that weekly pest control service is

“recommended” for kitchen and food service areas, and that the

“best practice for pest control” is “integrated pest management”,

this testimony does not create constitutional standards.                    See e.g.
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Green    v.   Farrell,   801   F.2d   765,   770    (5th   Cir.   1986)(“Expert

recommendations do not create constitutional standards under the

eighth amendment)(citing Rhodes v. Chapman, 452 U.S. 337, 348 n.13

(1981)).      The evidence also showed that the kitchen and food

storage areas at EMCF generally received grades of “A” or “B”

during annual inspections by the Mississippi Department of Health.

Trans. vol. 11, at 38.         Finally, there was no evidence that any

inmate had become ill because of the food he was served, or the

manner in which the food was stored and/or prepared.               Id. at 31.

     Having     heard    the    evidence,     the    Court    concludes   that

Plaintiffs have not shown they are being denied well-balanced,

nutritionally sufficient meals based on the manner or environment

in which those meals are prepared.

     In sum, the Court finds Plaintiffs have not shown that the

meals served at EMCF are calorically or nutritionally inadequate.

The evidence likewise does not show either that the quantity and/or

quality of food served to inmates has resulted in their being

underweight, malnourished, or subject to food-born illnesses, or

that they are at a substantial risk of such nutrition-related

harms.     Finally, the record does not show that Defendants have

acted with deliberate indifference to the nutritional needs of

prisoners at EMCF.         Judgment will be granted to Defendants on

Plaintiffs’ Eight Amendment adequate nutrition claim.
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                                 Conclusion

      In conclusion, The Court having granted judgment as to each

claim by Plaintiffs hereby finally dismisses this case.             However,

the   Court    believes   that   some    additional   explanation   will   be

helpful.      This case was filed in May of 2013, after Plaintiffs’

attorneys had investigated this case, hired and consulted their

expert witnesses and evaluated their prospects of a successful

result.    The pretrial phase of this litigation was long based on

the multiple requests for extensions of time that were granted to

each side during the discovery and pre-trial stages of this case,

and the multiple complex matters that were raised and needed to be

resolved by the Court for the case to proceed.          As the case neared

trial, the Court encouraged the parties to explore settlement

possibilities.     The attorneys met on multiple occasions with the

magistrate judge to try to settle the case without success.                A

bench trial was held beginning in Spring of 2018.         Following trial,

the Court again allowed the parties to conduct discovery for the

purpose of examining the current status in the prison, and to

provide post-trial briefing detailing that status.           During all of

this time, the manner in which the prison was being operated did

not remain stagnant.       Instead, multiple changes were made at the

prison that impacted staffing, physical and mental health care,
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and environmental conditions.        The prison that existed at the time

of trial was not the same as the one that had existed when this

lawsuit was filed.

       The Court is of the belief that the bribery and kickbacks in

which then-MDOC Commissioner Epps participated, including those

that also involved Dr. Reddix whose company was providing medical

and mental health care at EMCF, likely affected the quality of

care   that   was     being   provided    to   prisoners   as    well   as    other

conditions at that facility.             After Epps’s illegal conduct came

to light, multiple changes were made at EMCF including (1) the

contracting with a new company for the provision health-care

related services; (2) the creation of an in-house medical unit for

the    purpose   of    monitoring   and       treating   acute   mental      health

problems; and (3) the establishment of an in-house pharmacy to

increase the ready availability medications.               The prison also saw

the hiring of a very experienced new warden, an increase in the

number and availability of security staff throughout the facility,

and the cleaning/repairing/improving of the prison.                 The changes

made at the prison are evident from the record, and from the tour

of the facility that was made during trial.                      The Court was

surprised with respect to the cleanliness and condition of the

prison in particular after seeing photographs of facility that

were taken prior to the lawsuit’s having been filed before trial,
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and hearing the anecdotal evidence presented by the prisoners who

testified at trial.

     It is not for the Court to speculate as to what the outcome

of this case would have been if the conditions that existed at the

prison when the lawsuit was filed continued to exist at the time

of trial or thereafter.       It is for the Court to say that after the

lawsuit   was    filed      and   the    administrative        corruption     was

discovered, multiple changes were made at EMCF that directly

pertain to Plaintiffs’ claims.          While Plaintiffs and their expert

witnesses argue that the environment and healthcare services at

the prison could and should be better, those arguments do not

establish that the conditions under which they are currently

housed, as a class, are cruel and unusual.               For this reason, the

Court finds no bases for either declaring that the conditions at

EMCF violate the Eighth Amendment or awarding injunctive relief

to remedy existing constitutional violations.

     For these reasons:

     IT   IS    THEREFORE     ORDERED        that   judgment   be   entered    in

Defendants’ favor on all claims alleged by Plaintiffs in this case.

     SO ORDERED this the 31 day of December, 2019.



                                              s/ William H. Barbour, Jr.
                                              UNITED STATES DISTRICT JUDGE


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